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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Nelson L. Bruce,                        )                  C/A No. 2:22-CV-02211-BHH-MGB
                                        )
                            PLAINTIFF,  )
                                        )
               vs.                      )                     ORDER
                                        )
Pentagon Federal Credit Union, et. al., )
                                        )
                            DEFENDANTS. )
                                        )

        Plaintiff Nelson L. Bruce, appearing pro se and in forma pauperis, brings this civil action

alleging violations of the Fair Credit Reporting Act, among other claims. Plaintiff filed this action

on July 12, 2022. (Dkt. No. 1.) On November 2, 2022, Plaintiff filed an Amended Complaint

pursuant to Rule 15(a)(1)(B) of the Federal Rules of Civil Procedure. (Dkt. No. 31.) The Amended

Complaint adds LexisNexis Risk Solutions, Inc. (“LexisNexis”) as a named defendant. The Court

issued an Order authorizing service on LexisNexis on November 2, 2022, with a service deadline

on January 31, 2023. (Dkt. No. 33.) On December 14, 2022, Plaintiff filed a Notice, providing an

updated address for LexisNexis and a new proposed summons. (Dkt. No. 46.)

        TO THE CLERK OF COURT:

        The Clerk of Court is directed to issue the summons for LexisNexis Risk Solutions, Inc.

and to forward a copy of this Order, the summons, the Form USM-285, and the Amended

Complaint to the United States Marshal for service of process. Service remains due by January 31,

2023.

        TO THE UNITED STATES MARSHAL:

        The United States Marshal shall serve the Amended Complaint on Defendant LexisNexis

Risk Solutions, Inc. As stated above, service must be accomplished by January 31, 2023. The
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United States Marshals Service is advised that it must expend a reasonable investigative effort to

locate a defendant once a defendant is properly identified. See Greene v. Holloway, No. 99-7380,

2000 WL 296314, at *1 (4th Cir. 2000) (citing with approval Graham v. Satkoski, 51 F.3d 710

(7th Cir. 1995)). If the information provided on the Form USM-285 is not sufficient for the Marshal

to effect service of process, after reasonable investigative efforts have been made to locate a

properly identified Defendant, the Marshal should so note in the “Remarks” section at the bottom

of the Form USM-285.

       TO DEFENDANTS:

       Defendants are directed to file an answer to the Amended Complaint or otherwise plead in

accordance with Rule 12 of the Federal Rules of Civil Procedure.

       AND IT IS SO ORDERED.




December 16, 2022
Charleston, South Carolina
